Case 2:17-cv-13158-MOB-MKM ECF No. 36-3 filed 05/24/18   PageID.222   Page 1 of 21




                        EXHIBIT B
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.223
                                                             1 of 20 Pg IDPage
                                                                           19 2 of 21



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



  UNITED STATES OF AMERICA                              )       Criminal No.
                                                        )
                                                        )       Filed:
                V.                                      )

  HITACHI AUTOMOTIVE SYSTEMS, LTD.,
                                                        )
                                                        )
                                                                Violation: 15 U.S.C.j:1 /   l f O
                                                        )
                                Defendant.              )
                                                                                       NOV - 6 2013
                                                                                     CLERK·so
                                                                                   U.S. DISTA1c{Ftc1:
                                         PLEA AGREEMENT                            EASTEAN MICHCOUfrr
                                                                                                 IGAN

         The United States of America and Hitachi Automotive Systems, Ltd. ("defendant"), a

  corporation organized and existing under the laws of Japan, hereby enter into the following Plea

  Agreement pursuant to Rule 1 l(c)(l)(C) of the Federal Rules of Criminal Procedure ("Fed. R.

  Crim. P."):

                                    RIGHTS OF DEFENDANT

         1.     The defendant understands its rights:

                (a)     to be represented by an attorney;

                (b)     to be charged by Indictment;

                (c)     as a corporation organized and existing under the laws of Japan, to decline

         to accept service of the Summons in this case, and to contest the jurisdiction of the

         United States to prosecute this case against it in the United States District Court for the

         Eastern District of Michigan;

                ( d)    to plead not guilty to any criminal charge brought against it;

                (e)     to have a trial by jury, at which it would be presumed not guilty of the

         charge and the United States would have to prove every essential element of the charged

         offense beyond a reasonable doubt for it to be found guilty;
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.224
                                                             2 of 20 Pg IDPage
                                                                           20 3 of 21




                 (f)      to confront and cross-examine witnesses against it and to subpoena

         witnesses in its defense at trial;

                 (g)     to appeal its conviction if it is found guilty; and

                 (h)     to appeal the imposition of sentence against it.

                                AGREEMENT TO PLEAD GUILTY
                                 AND WAIVE CERTAIN RIGHTS

         2.      The defendant knowingly and voluntarily waives the rights set out in Paragraph

  1(b)-(g) above. The defendant also knowingly and voluntarily waives the right to file any

  appeal, any collateral attack, or any other writ or motion, including but not limited to an appeal

  under 18 U.S.C. § 3742, that challenges the sentence imposed by the Court if that sentence is

  consistent with or below the recommended sentence in Paragraph 9 of this Plea Agreement,

  regardless of how the sentence is determined by the Court. This agreement does not affect the

  rights or obligations of the United States as set forth in 18 U.S.C. § 3742(b)-(c). Nothing in this

  paragraph, however, will act as a bar to the defendant perfecting any legal remedies it may

  otherwise have on appeal or collateral attack respecting claims of ineffective assistance of

  counsel or prosecutorial misconduct. The defendant agrees that there is currently no known

  evidence of ineffective assistance of counsel or prosecutorial misconduct. Pursuant to Fed. R.

  Crim. P. 7(b), the defendant will waive indictment and plead guilty to a one-count Information to

  be filed in the United States District Court for the Eastern District of Michigan. The Information

  will charge the defendant with participating in a combination and conspiracy to suppress and

  eliminate competition in the automotive parts industry by agreeing to allocate the supply of, rig

  bids for, and fix, stabilize, and maintain the prices of, certain automotive products sold to

  automobile manufacturers in the United States and elsewhere, from at least as early as January

  2000 until at least February 2010, in violation of the Sherman Antitrust Act, 15 U.S.C. § 1. For

  the purposes of this Plea Agreement, "automotive parts" are defined as starter motors,




                                                    2
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.225
                                                             3 of 20 Pg IDPage
                                                                           21 4 of 21




  alternators, air flow meters, valve timing control devices, fuel injection systems, electronic

  throttle bodies, ignition coils, inverters and motor generators.

         3.      The defendant will plead guilty to the criminal charge described in Paragraph 2

  above pursuant to the terms of this Plea Agreement and will make a factual admission of guilt to

  the Court in accordance with Fed. R. Crim. P. 11, as set forth in Paragraph 4 below.

                          FACTUAL BASIS FOR OFFENSE CHARGED

         4.      Had this case gone to trial, the United States would have presented evidence

  sufficient to prove the following facts:

                 (a)     For purposes of this Plea Agreement, the "relevant period" is that period

         from at least as early as January 2000 until at least February 2010. The defendant is a

         corporation organized and existing under the laws of Japan. The defendant has its

         principal place of business in Tokyo, Japan. During the relevant period, the defendant

         and/or certain related entities as defined in paragraph 13 was a manufacturer of various

         automotive parts as defined in paragraph 2. The defendant was engaged in the sale of

         these automotive parts in the United States and elsewhere, and employed 5,000 or more

         individuals. Starter motors are small electric motors used in starting internal combustion

         engines. Alternators are electromechanical devices that generate an electric current while

         engines are in operation. Air flow meters measure the volume of air flowing into

         engines. Valve timing control devices control the timing of engine valves' operation, and

         include the VTC actuator .and/or solenoid valve. Fuel injection systems admit fuel or a

         fuel/air mixture into engine cylinders, and may include injectors, high pressure pumps,

         rail assemblies, feed lines and other components sold as a unitary system. Fuel injection

          systems can also be sold as part of a broader system, such as an engine management

          system, or as separate components, such as the injectors, feed lines, high pressure pumps,

          and/or rail assemblies. Electronic throttle bodies control the amount of air flowing into

          engines. Ignition coils release electric energy to ignite the fuel/air mixture in cylinders.

                                                     3
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.226
                                                             4 of 20 Pg IDPage
                                                                           22 5 of 21




        Inverters convert direct current electricity to alternating current. Motor generators are

        electric motors used to power electric drive systems that can also capture energy from the

        process of stopping a vehicle to generate electricity through regenerative braking. During

        the relevant period, the defendant's and its related entities' sales of starter motors to

        General Motors Company ("GM") and Nissan Motor Company, Ltd. ("Nissan");

        alternators to Nissan; air flow meters to Nissan, Toyota Motor Corporation ("Toyota")

        and Honda Motor Company, Ltd., ("Honda"); valve timing control devices to Ford Motor

        Company ("Ford"); fuel injection systems to GM and Nissan; electronic throttle bodies to

        GM and Nissan; and ignition coils to Honda, together with sales to certain of their

        subsidiaries, affiliates and suppliers in the United States and elsewhere totaled more than

        $650 million.

                (b)     During the relevant period, the defendant, through its officers and

        employees, including high-level personnel of the defendant, participated in a conspiracy

        among major automotive parts manufacturers, the primary purpose of which was to

        allocate the supply of, rig bids for, and fix, stabilize and maintain the prices of, starter

        motors, alternators, air flow meters, valve timing control devices, fuel injection systems,

        electronic throttle bodies, ignition coils, inverters and motor generators sold to,

        depending on the product, Nissan, Honda, GM, Ford, Toyota, Chrysler Group LLC, Fuji

        Heavy Industries Ltd. and others, and certain of their subsidiaries, affiliates and suppliers

        in the United States and elsewhere. In furtherance of the conspiracy, the defendant,

        through its officers and employees, engaged in discussions and attended meetings with

        representatives of other major automotive parts manufacturers. During these discussions

        and meetings, agreements were reached to allocate the supply of the aforementioned

        automotive parts sold to automobile manufacturers, rig bids quoted to automobile

        manufacturers for the aforementioned automotive parts, and to fix, stabilize, and maintain

        the prices, including coordinating price adjustments requested by automobile


                                                   4
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.227
                                                             5 of 20 Pg IDPage
                                                                           23 6 of 21




        manufacturers, of the aforementioned automotive parts sold to automobile manufacturers

        in the United States and elsewhere.

               (c)     During the relevant period, certain automotive parts sold by one or more

        of the conspirator firms, and equipment and supplies necessary to the production and

        distribution of automotive parts, as well as payments for automotive parts, traveled in

        interstate commerce and foreign commerce as imports into the United States. The

        business activities of the defendant and its co-conspirators in connection with the

        production and sale of automotive parts that were the subjects of this conspiracy were

        within the flow of, and substantially affected, interstate and foreign trade and commerce.

               (d)     The conspiratorial meetings and discussions described above took place in

        the United States and elsewhere, and automotive parts that were the subject of the

        conspiracy were sold to Nissan, Honda, GM, Ford, Toyota, and others, and certain of

        their subsidiaries, affiliates and suppliers in the U.S. and elsewhere, by the defendant's

        affiliate, Hitachi Automotive Systems Americas, Inc., which is located in the Eastern

        District of Michigan.

               (e)     In February 2010, certain employees of the defendant became aware of a

        criminal antitrust investigation when one of their co-conspirators in the criminal activity

        described in paragraphs 4(a)- (d) of this Plea Agreement was searched by Federal law

        enforcement authorities in the United States. Over the next several days, certain

        employees of the defendant took steps to destroy evidence of the defendant's criminal

        activity described in paragraphs 4(a)- (d). In July 2011, certain employees of the

        defendant learned that the defendant was being raided by law enforcement authorities

        outside the United States in connection with an investigation into violations of

        competition laws. Immediately after learning of the search, certain employees of the

        defendant took steps to destroy evidence of the criminal activity described in paragraphs

        4(a)- (d) to prevent its discovery by law enforcement authorities. On both occasions, the


                                                  5
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.228
                                                             6 of 20 Pg IDPage
                                                                           24 7 of 21




         evidence that was destroyed included electronic files and paper documents. Certain

         employees involved in the efforts to destroy evidence were senior managers of the

         defendant.

                                 ELEMENTS OF THE OFFENSE

         5.      The elements of the charged offense are that:

                 (a)     the conspiracy described in the Information existed at or about the time

         alleged;

                 (b)     the defendant knowingly became a member of the conspiracy; and

                 (c)     the conspiracy described in the Information either substantially affected

         interstate commerce in goods or services or occurred within the flow of interstate

         commerce in goods and services.

                               POSSIBLE MAXIMUM SENTENCE

         6.      The defendant understands that the statutory maximum penalty which may be

  imposed against it upon conviction for a violation of Section One of the Sherman Antitrust Act is

  a fine in an amount equal to the greatest of:

                 (a)     $100 million (15 U.S.C. § 1);

                 (b)     twice the gross pecuniary gain the conspirators derived from the crime (18

         U.S.C. § 3571(c) and (d)); or

                 (c)     twice the gross pecuniary loss caused to the victims of the crime by the

         conspirators (18 U.S.C. § 3571(c) and (d)).

         7.      In addition, the defendant understands that:

                 (a)     pursuant to 18 U.S.C. § 356l(c)(l), the Court may impose a term of

         probation of at least one year, but not more than five years;




                                                   6
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.229
                                                             7 of 20 Pg IDPage
                                                                           25 8 of 21




                 (b)     pursuant to §8B 1.1 of the United States Sentencing Guidelines

         ("U.S.S.G.," "Sentencing Guidelines," or "Guidelines") or 18 U.S.C. §3563(b)(2) or

         3663(a)(3), the Court may order it to pay restitution to the victims of the offense; and

                 (c)    pursuant to 18 U.S.C. § 3013(a)(2)(B), the Court is required to order the

         defendant to pay a $400 special assessment upon conviction for the charged crime.

                                   SENTENCING GUIDELINES

         8.      The defendant understands that the Sentencing Guidelines are advisory, not

 mandatory, but that the Court must consider, in determining and imposing sentence, the

  Guidelines Manual in effect on the date of sentencing unless that Manual provides for greater

 punishment than the Manual in effect on the last date that the offense of conviction was

 committed, in which case the Court must consider the Guidelines Manual in effect on the last

 date that the offense of conviction was committed. The parties agree there is no ex post facto

  issue under the November, 2012 Guidelines Manual. The Court must also consider the other

  factors set forth in 18 U.S.C. § 3553(a) in determining and imposing sentence. The defendant

 understands that the Guidelines determinations will be made by the Court by a preponderance of

 the evidence standard. The defendant understands that although the Court is not ultimately
                                                            ..
 bound to impose a sentence within the applicable Guidelines range, its sentence must be

 reasonable based upon consideration of all relevant sentencing factors set forth in 18 U.S.C. §

  3553(a).

                                  SENTENCING AGREEMENT

         9.      Pursuant to Fed. R. Crim. P. 1 l(c)(l)(C) and subject to the full, truthful, and

  continuing cooperation of the defendant and related entities, as defined in Paragraph 13 of this

  Plea Agreement, the United States and the defendant agree that the appropriate disposition of this

  case is, and agree to recommend jointly that the Court impose, a sentence requiring the defendant

  to pay to the United States a criminal fine of $195 million, pursuant to 18 U.S.C. §357l(d),

                                                   7
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.230
                                                             8 of 20 Pg IDPage
                                                                           26 9 of 21




  payable in full before the fifteenth (15th) day after the date of judgment, and no order of

  restitution ("the recommended sentence"). The parties agree that there exists no aggravating or

  mitigating circumstance of a kind, or to a degree, not adequately taken into consideration by the

  U.S. Sentencing Commission in formulating the Sentencing Guidelines justifying a departure

  pursuant to U.S.S.G. §5K.2.0. The parties agree not to seek at the sentencing hearing any

  sentence outside of the Guidelines range nor any Guidelines adjustment for any reason that is not

  set forth in this Plea Agreement. The parties further agree that the recommended sentence set

  forth in this Plea Agreement is reasonable.

                  (a)    The defendant understands that the Court will order it to pay a $400

         special assessment, pursuant to 18 U.S.C. § 30I3(a)(2)(B), in addition to any fine

         imposed.

                 (b)     In light of the availability of civil causes of action, which potentially

         provide for a recovery of a multiple of actual damages, the recommended sentence does

         not include a restitution order for the offense charged in the Information.

                 (c)     Both parties will recommend that no term of probation be imposed, but the

         defendant understands that the Court's denial of this request will not void this Plea

         Agreement.

                 (d)     The United States and the defendant jointly submit that this Plea

         Agreement, together with the record that will be created by the United States and the

         defendant at the plea and sentencing hearings, and the further disclosure described in

         Paragraph 11, will provide sufficient information concerning the defendant, the crime

         charged in this case, and the defendant's role in the crime to enable the meaningful

         exercise of sentencing authority by the Court under 18 U.S.C. § 3553. The United States

         and defendant agree to request jointly that the Court accept the defendant's guilty plea

         and impose sentence on an expedited schedule as early as the date of arraignment, based

         upon the record provided by the defendant and the United States, under the provisions of


                                                    8
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                         Filed
                                             filed
                                                 11/06/13
                                                   05/24/18 PgPageID.231
                                                               9 of 20 Pg ID
                                                                           Page
                                                                             27 10 of 21




         Fed. R. Crim. P. 32(c)(l)(A)(ii), U.S.S.G. §6Al.l, and Rule 32.l(h) of the Criminal

         Local Rules. The Court's denial of the request to impose sentence on an expedited

         schedule will not void this Plea Agreement.

                 (e)     The United States contends that had this case gone to trial, the United

         States would have presented evidence to prove that the gain derived from or the loss

         resulting from the charged offense is sufficient to justify the recommended sentence set

         forth in this paragraph, pursuant to 18 U.S.C. § 357l(d). For purposes of this plea and

         sentencing only, the defendant waives its rights to contest this calculation.

          10.    The United States and the defendant agree that the applicable Guidelines fine

  range exceeds the fine contained in the recommended sentence set out in Paragraph 9 above.

  Subject to the full, truthful, and continuing cooperation of the defendant and its related entities,

  as defined in Paragraph 13 of this Plea Agreement, and prior to sentencing in this case, the

  United States agrees that it will make a motion, pursuant to U.S.S.G. §8C4.1, for a downward

  departure from the Guidelines fine range and will request that the Court impose the

  recommended sentence set out in Paragraph 9 of this Plea Agreement because of the defendant's

  and its related entities' substantial assistance in the government's investigation and prosecutions

  of violations of federal criminal law in the automotive parts industry.

          11.    Subject to the full, truthful, and continuing cooperation of the defendant and its

  related entities, as defined in Paragraph 13 of this Plea Agreement, and prior to sentencing in this

  case, the United States will fully advise the Court and the Probation Office of the fact, manner,

  and extent of the defendant's and its related entities' cooperation, and their commitment to

  prospective cooperation, with the United States' investigation and prosecutions, all material facts

  relating to the defendant's involvement in the charged offense, and all other relevant conduct.

          12.    The United States and the defendant understand that the Court retains complete

  discretion to accept or reject the recommended sentence provided for in Paragraph 9 of this Plea

  Agreement.


                                                    9
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.232
                                                             10 of 20 Pg ID
                                                                         Page
                                                                            28 11 of 21




                    (a)    If the Court does not accept the recommended sentence, the United States

         and the defendant agree that this Plea Agreement, except for Paragraph 12(b) below, will

         be rendered void.

                    (b)    If the Court does not accept the recommended sentence, the defendant will

         be free to withdraw its guilty plea (Fed. R. Crim. P. 1 l(c)(5) and (d)). If the defendant

         withdraws its plea of guilty, this Plea Agreement, the guilty plea, and any statement made

         in the course of any proceedings under Fed. R. Crim. P. 11 regarding the guilty plea or

         this Plea Agreement or made in the course of plea discussions with an attorney for the

         government will not be admissible against the defendant in any criminal or civil

         proceeding, except as otherwise provided in Fed. R. Evid. 410. In addition, the defendant

         agrees that, if it withdraws its guilty plea pursuant to this subparagraph of this Plea

         Agreement, the statute of limitations period for any offense referred to in Paragraph 15 of

         this Plea Agreement will be tolled for the period between the date of the signing of this

         Plea Agreement and the date the defendant withdrew its guilty plea or for a period of

         sixty (60) days after the date of the signing of this Plea Agreement, whichever period is

         greater.

                                       DEFENDANT'S COOPERATION

         13.        The defendant and its related entities will cooperate fully and truthfully with the

  United States in the prosecution of this case, the current federal investigation of violations of

  federal antitrust and related criminal laws involving the manufacture or sale of automotive parts

  as defined in paragraph 2 of this Plea Agreement, as well as automotive engine control units,

  automotive transmission control units, and automotive sensors, and any litigation or other

  proceedings arising or resulting from that investigation to which the United States is a party

  (collectively, "Federal Proceeding"). Federal Proceeding includes, but is not limited to, an

  investigation, prosecution, litigation, or other proceeding regarding obstruction of, the making of

  a false statement or declaration in, the commission of perjury or subornation of perjury in, the

                                                     10
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.233
                                                             11 of 20 Pg ID
                                                                         Page
                                                                            29 12 of 21




  commission of contempt in, or conspiracy to commit such offenses in, a Federal Proceeding.

  The defendant's related entities for purposes of this Plea Agreement are its affiliate Hitachi

  Automotive Systems Americas, Inc., the former Hitachi Automotive Systems Group of Hitachi,

  Ltd., as it existed prior to July 1, 2009, the former Hitachi Unisia Automotive, Ltd., the former

  Tokico, Ltd., and entities engaged in the manufacture or sale of automotive parts, automotive

  engine control units, automotive transmission control units, or automotive sensors that the

  defendant or Hitachi Automotive Systems Americas, Inc. had a greater than 50% ownership

  interest in as of the date of signature of this Plea Agreement. The full, truthful, and continuing

  cooperation of the defendant and its related entities will include, but not be limited to:

                 (a)     producing to the United States all documents, information, and other

         materials, wherever located, not protected under the attorney-client privilege or the work

         product doctrine (and with translations into English), in the possession, custody, or

         control of the defendant or any of its related entities, requested by the United States in

         connection with any Federal Proceeding;

                 (b)     using its best efforts to secure the full, truthful, and continuing

         cooperation, as defined in Paragraph 14 of this Plea Agreement, of the current and former

         directors, officers, and employees of the defendant or any of its related entities as may be

         requested by the United States, but excluding the 6 individuals listed in Attachment A

         (filed under seal), including making these persons available in the United States and at

         other mutually agreed-upon locations, at the defendant's expense, for interviews and the

         provision of testimony in grand jury, trial, and other judicial proceedings in connection

         with any Federal Proceeding. Current directors, officers, and employees are defined for

         purposes of this Plea Agreement as individuals who are directors, officers, or employees

         of the defendant or any of its related entities as of the date of signature of this Plea

         Agreement.




                                                    11
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.234
                                                             12 of 20 Pg ID
                                                                         Page
                                                                            30 13 of 21




          14.    The full, truthful, and continuing cooperation of each person described in

  Paragraph 13(b) above will be subject to the procedures and protections of this paragraph, and

  will include, but not be limited to:

                 (a)     producing in the United States and at other mutually agreed-upon

         locations all documents, including claimed personal documents and other materials,

         wherever located not protected under the attorney-client privilege or the work product

         doctrine (and with translations into English), that are requested by attorneys and agents of

         the United States in connection with any Federal Proceeding;

                 (b)     making himself or herself available for interviews in the United States and

         at other mutually agreed-upon locations, not at the expense of the United States, upon the

         request of attorneys and agents of the United States in connection with any Federal

          Proceeding;

                 (c)     responding fully and truthfully to all inquiries of the United States in

         connection with any Federal Proceeding, without falsely implicating any person or

         intentionally withholding any information, subject to the penalties of making false

          statements or declarations (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. §

          1503, et seq.), or conspiracy to commit such offenses;

                 (d)     otherwise voluntarily providing the United States with any material or

         information not requested in (a) - (c) of this paragraph and not protected under the

         attorney-client privilege or work product doctrine that he or she may have that is related

         to any Federal Proceeding;

                 (e)     when called upon to do so by the United States in connection with any

         Federal Proceeding, testifying in grand jury, trial, and other judicial proceedings in the

          United States fully, truthfully, and under oath, subject to the penalties of perjury (18

         U.S.C. § 1621), making false statements or declarations in grand jury or court




                                                    12
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.235
                                                             13 of 20 Pg ID
                                                                         Page
                                                                            31 14 of 21




         proceedings (18 U.S.C. § 1623), contempt (18 U.S.C. §§ 401-402), and obstruction of

         justice (18 U.S.C. § 1503, et seq.); and

                 (f)     agreeing that, if the agreement not to prosecute him or her in this Plea

         Agreement is rendered void under Paragraph 16(c), the statute of limitations period for

         any Relevant Offense, as defined in Paragraph 16(a), will be tolled as to him or her for

         the period between the date of the signing of this Plea Agreement and six (6) months after

         the date that the United States gave notice of its intent to void its obligations to that

         person under this Plea Agreement.


                                GOVERNMENT'S AGREEMENT


         15.     Subject to the full, truthful, and continuing cooperation of the defendant and its

  related entities, as defined in Paragraph 13 of this Plea Agreement, and upon the Court's

  acceptance of the guilty plea called for by this Plea Agreement and the imposition of the

  recommended sentence, the United States agrees that it will not bring further criminal charges

  against the defendant or any of its related entities for any act or offense committed before the

  date of signature of this Plea Agreement that (a) was undertaken in furtherance of an antitrust

  conspiracy involving the manufacture or sale of automotive parts as defined in paragraph 2 of

  this Plea Agreement, automotive engine control units, automotive transmission control units, or

  automotive sensors, or (b) is specified in Paragraph 4(e). The nonprosecution terms of this

  paragraph do not apply to (a) any acts of subornation of perjury (18 U.S.C. § 1622), making a

  false statement (18 U.S .C. § 1001), obstruction of justice (18 U.S.C. § 1503, et seq.), contempt

  (18 U.S.C. §§ 401-402), or conspiracy to commit such offenses, except for the conductspecified

  in Paragraph 4(e) of this Plea Agreement; (b) civil matters of any kind; (c) any violation of the



                                                    13
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.236
                                                             14 of 20 Pg ID
                                                                         Page
                                                                            32 15 of 21



  federal tax or securities laws or conspiracy to commit such offenses; or (d) any crime of

  violence.

         16.     The United States agrees to the following:

                 (a)    Upon the Court's acceptance of the guilty plea called for by this Plea

         Agreement and the imposition of the recommended sentence and subject to the

         exceptions noted in Paragraph 16(c), the United States will not bring criminal charges

         against any current or former director, officer, or employee of the defendant or its related

         entities for any act or offense committed before the date of signature of this Plea

         Agreement and while that person was acting as a director, officer, or employee of the

         defendant or its related entities that was undertaken in furtherance of an antitrust

         conspiracy involving the manufacture or sale of the automotive parts as defined in

         Paragraph 2, automotive engine control units, automotive transmission control units, or

         automotive sensors ("Relevant Offense"), except that the protections granted in this

         paragraph do not apply to the 6 individuals listed in Attachment A filed under seal;

                 (b)    Should the United States determine that any current or former director,

         officer, or employee of the defendant or its related entities may have information relevant

         to any Federal Proceeding, the United States may request that person's cooperation under

         the terms of this Plea Agreement by written request delivered to counsel for the

         individual (with a copy to the undersigned counsel for the defendant) or, if the individual

         is not known by the United States to be represented, to the undersigned counsel for the

         defendant;

                 (c)    If any person requested to provide cooperation under Paragraph 16(b) fails

         to comply with his or her obligations under Paragraph 14, then the terms of this Plea



                                                  14
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.237
                                                             15 of 20 Pg ID
                                                                         Page
                                                                            33 16 of 21



        Agreement as they pertain to that person and the agreement not to prosecute that person

        granted in this Plea Agreement will be rendered void, and the United States may

        prosecute such person criminally for any federal crime of which the United States has

        knowledge, including, but not limited to any Relevant Offense;

                (d)    Except as provided in Paragraph 16(e), information provided by a person

        described in Paragraph 16(b) to the United States under the terms of this Plea Agreement

        pertaining to any Relevant Offense, or any information directly or indirectly derived from

        that information, may not be used against that person in a criminal case, except in a

        prosecution for perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making a false

        statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. §

         1503, et seq.), contempt (18 U.S.C. §§ 401-402), or conspiracy to commit such offenses;

                (e)    If any person who provides information to the United States under this

        Plea Agreement fails to comply fully with his or her obligations under Paragraph 14 of

        this Plea Agreement, the agreement in Paragraph 16(d) not to use that information or any

        information directly or indirectly derived from it against that person in a criminal case

        will be rendered void;

                (f)    The nonprosecution terms of this paragraph do not apply to civil matters

        of any kind; any violation of the federal tax or securities laws or conspiracy to commit

        such offenses; any crime of violence; or perjury or subornation of perjury (18 U.S.C. §§

         1621-22), making a false statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction

        of justice (18 U.S.C. § 1503, et seq.), contempt (18 U.S.C. §§ 401-402), or conspiracy to

        commit such offenses; and




                                                 15
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.238
                                                             16 of 20 Pg ID
                                                                         Page
                                                                            34 17 of 21



                 (g)     Documents provided under Paragraphs 13(a) and 14(a) will be deemed

         responsive to outstanding grand jury subpoenas issued to the defendant or any of its

         related entities.

         17.     The United States agrees that when any person travels to the United States for

  interviews, grand jury appearances, or court appearances pursuant to this Plea Agreement, or for

  meetings with counsel in preparation therefor, the United States will take no action, based upon

  any Relevant Offense, to subject such person to arrest, detention, or service of process, or to

  prevent such person from departing the United States. This paragraph does not apply to an

  individual's commission of perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making

  false statements or declarations (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. §

  1503, et seq.), contempt (18 U.S.C. §§ 401-402), or conspiracy to commit such offenses in

  connection with any testimony or information provided or requested in any Federal Proceeding.


                               REPRESENTATION BY COUNSEL


         18.     The defendant has been represented by counsel and is fully satisfied that its

  attorneys have provided competent legal representation. The defendant has thoroughly reviewed

  this Plea Agreement and acknowledges that counsel has advised it of the nature of the charge,

  any possible defenses to the charge, and the nature and range of possible sentences.


                                        VOLUNTARY PLEA


         19.     The defendant's decision to enter into this Plea Agreement and to tender a plea of

  guilty is freely and voluntarily made and is not the result of force, threats, assurances, promises,

  or representations other than the representations contained in this Plea Agreement and

  Attachment A. The United States has made no promises or representations to the defendant as to


                                                   16
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.239
                                                             17 of 20 Pg ID
                                                                         Page
                                                                            35 18 of 21



  whether the Court will accept or reject the recommendations contained within this Plea

  Agreement.


                              VIOLATION OF PLEA AGREEMENT


         20.     The defendant agrees that, should the United States determine in good faith,

  during the period that any Federal Proceeding is pending, that the defendant or any of its related

  entities have failed to provide full, truthful, and continuing cooperation, as defined in Paragraph

  13 of this Plea Agreement, or have otherwise violated any provision of this Plea Agreement, the

  United States will notify counsel for the defendant in writing by personal or overnight delivery,

  email, or facsimile transmission and may also notify counsel by telephone of its intention to void

  any of its obligations under this Plea Agreement (except its obligations under this paragraph),

  and the defendant and its related entities will be subject to prosecution for any federal crime of

  which the United States has knowledge including, but not limited to, the substantive offenses

  relating to the investigation resulting in this Plea Agreement. The defendant agrees that, in the

  event that the United States is released from its obligations under this Plea Agreement and brings

  criminal charges against the defendant or its related entities for any offense referred to in

  Paragraph 15 of this Plea Agreement, the statute of limitations period for such offense will be

  tolled for the period between the date of the signing of this Plea Agreement and six (6) months

  after the date the United States gave notice of its intent to void its obligations under this Plea

  Agreement.

          21.     The defendant understands and agrees that in any further prosecution

  of it or its related entities resulting from the release of the United States from its obligations

  under this Plea Agreement, because of the defendant's or its related entities' violation of this

  Plea Agreement, any documents, statements, information, testimony, or evidence provided by it,

                                                    17
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.240
                                                             18 of 20 Pg ID
                                                                         Page
                                                                            36 19 of 21



  its related entities, or current or former directors, officers, or employees of it or its related entities

  to attorneys or agents of the United States, federal grand juries, or courts, and any leads derived

  therefrom, may be used against it or its related entities. In addition, the defendant

  unconditionally waives its right to challenge the use of such evidence in any such further

  prosecution, notwithstanding the protections of Fed. R. Evid. 410.

                                    ENTIRETY OF AGREEMENT


          22.      This Plea Agreement and Attachment A constitute the entire agreement between

  the United States and the defendant concerning the disposition of the criminal charge in this case.

  This Plea Agreement cannot be modified except in writing, signed by the United States and the

  defendant.

          23.      The undersigned is authorized to enter this Plea Agreement on behalf of the

  defendant as evidenced by the Resolution of the Board of Directors of the defendant attached to,

  and incorporated by reference in, this Plea Agreement.

          24.      The undersigned attorneys for the United States have been authorized

  by the Attorney General of the United States to enter this Plea Agreement on behalf of the

  United States.




                                                      18
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.241
                                                             19 of 20 Pg ID
                                                                         Page
                                                                            37 20 of 21




               25.    A facsimile or PDF signature will be deemed an original signature for the purpose

        of executing this Plea Agreement. Multiple signature pages are authorized for the purpose of

        executing this Plea Agreement.



        DATED:       s   Q   p. o?.f.   ex O / .3
                         I                                  Respectfully submitted,




        BY:   ~ [ ~ WtA"< ~ifa W"'-
           Koji    manokawa
                                                            BY    Cf1t C, ;}/lYJrdJ/
                                                                 Mark C. Grundvig
           Senior Vice President, Board Director,                Kenneth W. Gaul
             And Chief Compliance Officer                        Jason D. Jones
           Hitachi Automotive Systems, Ltd.                      Nikhi\ Pyati
                                                                 Megan E. Gerking

                                                                 Attorneys
                                                                 U.S. Department of Justice
                                                                 Antitrust Division
           Craig P. Se ha d, sq.                                 450 Fifth Street, N.W.
           Matthew J.     obs, Esq.                              Washington, DC 20530
           Vinson & Elkins                                       Tel.: (202) 305-1878
           2200 Pennsylvania A venue NW
           Suite 500 West
           Washington, DC 20037
           Tel.: (202) 639-6500

           Counsel for Hitachi Automotive Systems, Ltd.




                                                       19
Case 2:17-cv-13158-MOB-MKM
        2:13-cr-20707-GCS-PJK ECF
                               DocNo.
                                   # 836-3
                                        Filed
                                            filed
                                               11/06/13
                                                  05/24/18Pg PageID.242
                                                             20 of 20 Pg ID
                                                                         Page
                                                                            38 21 of 21




                                 Hitachi Automotive Systems, Ltd.
                                     BOARD RESOLUTION

   At the meeting of the Board of Directors of Hitachi Automotive Systems, Ltd. ("HIAMS") held
   on September 25, 2013, the Board:

          RESOLVED, that the execution, delivery and perfonnance of the Plea Agreement
   between the United States Department of Justice and HIAMS, in the fonn attached hereto, is
   hereby approved;

           RESOLVED, that Mr. Koji Yamanokawa, Senior Vice President, Board Director and
   Chief Compliance Officer of HIAMS, is authorized, empowered, and directed to execute and
   deliver the Plea Agreement in the name and on behalf of HIAMS; and

          RESOLVED, that Mr. Koji Yamanokawa is authorized, empowered, and directed to
   represent HIAMS before any court or governmental agency in order to make statements and
   confirmations in accordance with the Plea Agreement, including entering a guilty plea on behalf
   ofHIAMS.



                                           CERTIFICATION

   I, Hiroshi Sato, President and Chief Operating Officer of Hitachi Automotive Systems, Ltd.
   ("HIAMS"), a company organized and existing under the laws of Japan, do hereby certify that
   the foregoing resolutions adopted by the Board of Directors of HIAMS at a meeting of the Board
   of Directors held in Tokyo, Japan on September 25, 2013, and in accordance with its Articles of
   lncorporation, are true and correct and complete and that said resolutions have not been
   amended, modified or repealed, and remain in full force and effect, as of the· date hereof.

   Signed in Tokyo, Japan this 25th day of September, 2013 by:




   Hir~
   President and Chief Operating Officer
   Hitachi Automotive Systems, Ltd.
